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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


CF THE OFFICE OWNER LLC,

        Plaintiff,                        CIVIL ACTION FILE

   v.                                     NO. 1:19-cv-03527-LMM-WEJ

AMARISH KHAN,

        Defendant pro se.


                                ORDER AND
                     FINAL REPORT AND RECOMMENDATION

        Defendant pro se Amarish Khan is facing a dispossessory proceeding in the

Magistrate Court of Fulton County. Defendant seeks to remove that case to this

Court and has submitted an Application to Proceed in forma pauperis (“IFP”) [1]

showing that defendant is unable to pay the removal fee at this time. Accordingly,

the undersigned GRANTS the motion to proceed in forma pauperis. However, the

Court is compelled to remand any action which has been improperly removed;

therefore, the undersigned examines this case to determine if removal is proper.

Nat’l Parks Conservation Ass’n v. Norton, 324 F.3d 1229, 1240 (11th Cir. 2003)
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(explaining that federal courts have an obligation to dismiss an action sua sponte if

subject matter jurisdiction is lacking).

      Defendant is a legal resident of Atlanta, Georgia. (Pet. for Removal [1-1]

2.) In the Petition for Removal, defendant alleges that plaintiff violated various

federal laws. (See id. at 1-3.) Defendant attached to that document a Summons

from the Magistrate Court of Fulton County. (Id. at 3.)

      A party who removes a state court case to federal district court pursuant to

28 U.S.C. § 1441 must prove that the court possesses “original jurisdiction.”

McNutt v. Gen. Motors Acceptance Corp. of Ind., 298 U.S. 178, 189 (1936).

Moreover, removal jurisdiction is construed narrowly, with all doubts resolved in

favor of remand. See Pacheco de Perez v. AT&T Co., 139 F.3d 1368, 1373 (11th

Cir. 1998). The removing party has the burden of demonstrating the propriety of

removal, Diaz v. Shepard, 85 F.3d 1502, 1505 (11th Cir. 1996), and federal courts

have an obligation to dismiss an action sua sponte if subject matter jurisdiction is

lacking, Nat’l Parks Conservation Ass’n v. Norton, 324 F.3d 1229, 1240 (11th Cir.

2003).

      Original jurisdiction arises if there is diversity of parties or a federal question.

28 U.S.C. § 1441(a)-(b). However, § 1441(b)(2) bars removal on the basis of

diversity if the “defendant[] is a citizen of the State in which [the] action is brought.”

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Id. § 1441(b). Likewise, unless a “substantial” federal question is presented on the

face of the state court complaint, the case does not arise under federal law. Rivet

v. Regions Bank of La., 522 U.S. 470, 475 (1998); Kemp v. Int’l Bus. Machs. Corp.,

109 F.3d 708, 712 (11th Cir. 1997). Neither a defendant’s answer nor a notice of

removal may be used to establish federal question jurisdiction. Gully v. First Nat’l

Bank, 299 U.S. 109, 113 (1936); Buice v. Buford Broad., Inc., 553 F. Supp. 388,

389 (N.D. Ga. 1983).

      Because defendant is a Georgia domiciliary, the Court does not have

diversity jurisdiction over this Fulton County action. Likewise, the Dispossessory

Proceeding indicates no federal question. Plaintiff cannot be subjected to federal

jurisdiction after having filed for eviction on state law grounds in state court.

Accordingly, because defendant has failed to demonstrate any lawful basis for

removal of the action, the undersigned RECOMMENDS that this action be

REMANDED to the Magistrate Court of Fulton County pursuant to 28 U.S.C.

§ 1447(c).

      For the reasons set forth above, the undersigned GRANTS the Application

to Proceed in District Court without Prepaying Fees or Costs [1] for the limited

purpose of remand, and RECOMMENDS this case be REMANDED to the

Magistrate Court of Fulton County, Georgia.

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      The Clerk is DIRECTED to terminate the reference to the undersigned

Magistrate Judge.

      SO ORDERED AND RECOMMENDED, this 8th day of August, 2019.




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                    WALTER E. JOHNSON
                    UNITED STATES MAGISTRATE JUDGE




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